     Case 1:05-cr-00215-PB   Document 32   Filed 04/19/06   Page 1 of 2




                    UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF NEW HAMPSHIRE




United States of America

     v.                                      Case No. 05-cr-215-PB

Christopher Stallings, et. al.

                               O R D E R


     The defendant has moved to continue the May 2, 2006 trial in

the above case, citing the need for additional time to complete

discovery and prepare a defense.      The government does not object

to a continuance of the trial date.

     Accordingly, in order to allow the parties additional time

to complete discovery and properly prepare for trial, the court

will continue the trial from May 2, 2006 to September 6, 2006.

In agreeing to continue the trial, the court finds pursuant to 18

U.S.C.A. § 3161(h)(8)(A) that for the above-stated reasons, the

ends of justice served in granting a continuance outweigh the

best interests of the public and the defendants in a speedy

trial.
      Case 1:05-cr-00215-PB   Document 32   Filed 04/19/06   Page 2 of 2




      The April 20, 2006 final pretrial is continued to August 30,

2006 at 3:45 p.m.

      SO ORDERED.



                                         /s/Paul Barbadoro
                                         Paul Barbadoro
                                         United States District Judge

April 19, 2006

cc:   Jonathan Saxe, Esq.
      Donald Feith, AUSA
      Paul Pappas, Esq.
      United States Probation
      United States Marshal




                                     2
